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                             IN THE UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF ILLINOIS
                                       EASTERN DIVISION



VANESSA WEREKO,                                      )
                                                     )
                          Plaintiff,                 )
                                                     )
               v.                                    )         Case No.: 1:22-cv-2177
                                                     )
LORI ROSEN, et al.                                   )
                                                     )
                         Defendants.                 )


DEFENDANTS BRADLEY TROWBRIDGE AND SAFE TRAVELS CHICAGO, LLC’S
REPLY IN SUPPORT OF THEIR MOTION TO QUASH SERVICE OF PROCESS AND
                    VACATE THE DEFAULT ORDER

        Defendants    BRADLEY TROWBRIDGE AND SAFE TRAVELS CHICAGO, LLC

(Trowbridge and Safe Travels), through their attorneys, PAIGE M. NEEL and DANIEL L.

POLSBY of CLAUSEN MILLER P.C., file their reply in support of their motion to quash service

of process or, in the alternative, vacate the default order entered on August 4, 2022, and grant them

28 days to answer or otherwise plead.

                           Introduction and Summary of Argument

        In her response to Trowbridge and Safe Travels’ motion, Plaintiff argues that Trowbidge

did in fact have white hair and, based on a photo taken in violation of Illinois Supreme Court

Rule, that he wears glasses and, therefore, he must have been served. However, nothing in

Plaintiff’s affidavit or the exhibits she submitted demonstrates that Trowbridge was in fact

served. Even if this Court finds that service is proper, which Trowbridge and Safe Travels deny,

the Court still has the discretion to grant Trowbridge and Safe Travels’ motion to vacate the

default order, which has not been formalized as a judgment.


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                                            Argument

        I.     Plaintiff has not met her burden of demonstrating service of process.

        Plaintiff bears the burden of demonstrating that the Court has jurisdiction over

Trowbridge and Safe Travels through proper service. Cardenas v. City of Chicago, 646 F.3d

1001, 1005 (7th Cir. 2011). Rule 4 requires delivery of the summons and complaint to

Trowbridge and Safe Travels. Plaintiff is correct that Trowbridge and Safe Travels do not

dispute the address, but they do dispute service of process, including the description of

Trowbridge provided by Plaintiff’s affidavits of service. (Doc. 76 and 87) Plaintiff appears to

argue that the description provided by the process server is close enough based on a screen shot

of Trowbridge during a Zoom court appearance in violation of Illinois Supreme Court Rule

63(a)(8), which prohibits transmission of courtroom proceedings, including by photography.

        The screenshot submitted by Plaintiff shows him in reading glasses, which is

unsurprising given that he is 60 years old and looking at a computer screen. However, as stated

in his affidavit, Trowbridge does not regularly wear glasses.

        Plaintiff does not even attempt to rebut the averments in Trowbridge’s affidavit that he is

61 years of age, weighs 170 pounds and is 5’10”. Plaintiff downplays the differences as trivial,

but her process server has every detail of Trowbridge’s description wrong other than that he is a

white male. Although the height is not drastically wrong, the age and weight are. There is a

significant difference between 55 and 61 years and 140-160 and 170 pounds.

        Plaintiff submitted an affidavit of non-service from VANESSA WEREKO, et al. v. DAVID

HARACZ, et al., 21-cv-1167. (Doc. 269-2) The affiant, a different process server than in the case

currently before this Court, stated that he was not able to obtain service because the building was

secured without access to Trowbridge and Safe Travels’ door on multiple dates in March 2021.



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Plaintiff does not explain how the fact that a process server could not obtain service in 2021

makes it more likely that another process server did obtain service in 2022.

            Plaintiff submits her own affidavit in which she alleges that service occurred, but no

affidavit from the process server in this lawsuit, Jose Garcia Guzman. That apparently deliberate

omission supports Trowbridge and Safe Travels’ argument that they were not served.

        This Court should disregard Plaintiff’s reference to the Court’s comments during hearing

on her motion to enter a default order against Trowbridge and Safe Travels. Plaintiff points to

comments made by Judge Dow during a hearing on August 4, 2022. According to Plaintiff’s

response brief, the Court said nothing more than that Trowbridge had not filed an appearance as

of the date of that hearing, which is an issue not in dispute. The Court had before it only

Plaintiff’s attestation that she obtained proper service. As demonstrated by Trowbridge’s

affidavit, she has not.

       II.   Even if this Court finds proper service, it should vacate the default order and
allow Trowbridge and Safe Travels to respond to the complaint on the merits.

        Trowbridge presented evidence and arguments in his motion that he met the requirements

of Rule 60(b). As soon as his attorneys learned of the default order, they filed a motion to vacate.

        Without providing any support, Plaintiff claims that Trowbridge was either served or

knew about the default motion she filed and chose to ignore it. Plaintiff argues that she served

notice of her default motion on Trowbridge and Safe Travels by certified United States Mail.

However, she did not provide any evidence of receipt. Typically, a litigant attempting to prove

service by certified mail produces the green card signed by the recipient. Here, Plaintiff provided

only evidence that she mailed motions to Trowbridge and Safe Travels. Certified mail does not

simply go into a mailbox, the postal carrier holds the mail unless someone at the address signs




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for it. Plaintiff’s use of certified mail supports Trowbridge and Safe Travels’ position that they

were not aware of the lawsuit or motion to default.

        Further, sending certified mail is not proper service, even if received. Plaintiff cannot use

certified mail as a substitute for proper service, especially without evidence of receipt.

       A. Pioneer is inapplicable because Trowbridge and Safe Travels did not deliberately
choose not to respond to Plaintiff’s complaint.

        Plaintiff argues that, pursuant to Pioneer Investment Services v. Brunswick Associates

Ltd. Partnership, 507 U.S. 380, 395 (1993), deliberate conduct is not excusable neglect. She

cites to Agribank v. Green, 188 B.R. 982, 988 (C.D. Ill. 1995), in which a bankruptcy judge

found that most cases after Pioneer found have held that deliberate actions cannot constitute

excusable neglect. However, Agribank involved the deliberate failure to file a claim during the

time allowed in a Chapter 11 bankruptcy proceeding.

        Leaving aside the applicability of Agribank to this case, Trowbridge and Safe Travels

did not deliberately choose not to respond to Plaintiff’s complaint. As demonstrated by

Trowbridge’s affidavit, he did not receive the summons and complaint.

       B. Plaintiff has not rebutted Trowbridge and Safe Travels’ arguments regarding
good cause, quick action to respond to the default, and a meritorious defense to the
underlying allegations pursuant to Rule 60(b)(1).

        Trowbridge and Safe Travels have good cause to request relief from the default order as

demonstrated by the fact that they did not receive notice of Plaintiff’s lawsuit, either via service

or otherwise, until Plaintiff retained counsel in September. Upon learning of the default, counsel

for Trowbridge and Safe Travels immediately filed a motion pursuant to Rule 60(b)(1).

        Plaintiff’s reference to the fact that she did not obtain service in the nearly identical

lawsuit previously filed against Trowbridge and Safe Travels does not change the fact that Judge

Sharon Johnson Coleman dismissed that lawsuit upon initial screening, a decision affirmed on


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appeal. Wereko v. Haracz, 857 F. App'x 250, 251 (7th Cir. 2021). The Seventh Circuit held that

the district court lacked subject matter jurisdiction pursuant to the domestic-relations exception

to federal jurisdiction. Id. Following dismissal of the previous lawsuit arising from the same

facts, affirmed on appeal, Trowbridge and Safe Travels reasonably believed litigation against

them arising from Judge Haracz’s plenary order of protection entered on September 9, 2019, to

be completed.

        In the first lawsuit, Plaintiff alleged that Judge Haracz ordered Safe Travels to supervise

weekly visitation upon entry of an order of protection on September 9, 2019. See VANESSA

WEREKO, et al. v. DAVID HARACZ, et al., 21-cv-1167 at Doc. 1, ¶ 111. She further alleged that

Trowbridge and Safe Travels provided her with a “unilateral adhesion contract.” See VANESSA

WEREKO, et al. v. DAVID HARACZ, et al., 21-cv-1167 at Doc. Doc. 1, ¶¶ 112-113.

        These allegations are essentially identical to Plaintiff’s allegations in the lawsuit currently

before this Court. In the complaint filed in this lawsuit, Plaintiff identifies the same plenary order

of protection entered by Judge Haracz on September 9, 2019, and accuses Trowbridge and Safe

Travels of providing her with a “unilateral adhesion contract.” (Doc. 1 at ¶¶ 173-177)

        In other words, Plaintiff’s complaint is subject to dismissal for lack of subject matter

jurisdiction and res judicata. The other defendants have filed well supported motions to dismiss

in which they argue that this Court does not have subject matter jurisdiction based on the

domestic relations exception, among other arguments. Plaintiff is likely aware of the preclusive

effect of Judge Johnson Coleman’s ruling and is relying on default, via defective service, as a

means to avoid that. Trowbridge and Safe Travels seek nothing more than the opportunity to

raise subject matter and res judicata arguments and defend this lawsuit on the merits. Plaintiff

identifies absolutely no prejudice that would result from allowing Trowbridge and Safe Travels



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to respond to the complaint. If Plaintiff has as good of a claim against Trowbridge and Safe

Travels as she claims, she should not have an issue with responding to motions to dismiss, which

she had already done as to the other defendants, making any additional drafting negligible.

                                               Conclusion

        For the foregoing reasons, Trowbridge and Safe Travels respectfully request that this Court

enter an order quashing service of process on them and vacating the default order entered against

them. In the alternative, Trowbridge and Safe Travels request that the Court enter an order vacating

the default entered on August 4, 2022 pursuant to Rule 60(b), and grant them 28 days to answer

or otherwise plead, or any other relief that Court deems appropriate.

                                                       Respectfully Submitted,


                                                       /s/Paige M. Neel
                                                       CLAUSEN MILLER P.C.

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            CERTIFICATE OF SERVICE AND NOTICE OF ELECTRONIC FILING

        The undersigned hereby certifies that a true and correct copy of Defendants Bradley
Trowbridge and Safe Travels Chicago, LLC’s reply in support of their motion to quash service of
process or, in the alternative, vacate the default order entered on August 4, 2022, and grant them
28 days to answer or otherwise plead was electronically filed with the Clerk of the United States
District Court for the Northern District of Illinois, using the CM/ECF system, which will send such
filing via electronic delivery to attorneys of record on October 21, 2022.




                                                      /s/Daniel L. Polsby
                                                      CLAUSEN MILLER P.C.




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